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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

 Tiffany Hearn,

         Plaintiff,

 v.                                                          Cause No. 1:22-cv-01192

 muesing management company, inc.,
 and advanced services llc,

         Defendants.

C O M P L A I N T FOR D A M A G ES A N D REQ U E ST FO R J U RY T RI A L

      Ms. Hearn is suing muesing and advanced services for a racially hostile work

environment and retaliation in violation of title vii and section 1981. This lawsuit is filed

in the Southern District of Indiana because Defendants reside in the district. Ms. Hearn seeks

all available relief, and respectfully requests a trial by jury.


                                                         Respectfully submitted,

                                                         /s/ Benjamin C. Ellis
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    1.   I N T R O DU C T IO N

                 In March and April 2021, a pair of white men working for

         advanced services, one of muesing’s contractors, racially harassed

         Ms. Hearn (a Black woman).

                 This included calling Ms. Hearn a nigger; yelling at and threatening

         her; and even trying to physically force their way into her car. They even

         taunted her that, because of the relationship between the companies’

         owners, they would face no repercussions. Indeed, when Ms. Hearn

         complained to muesing (her employer) about this harassment,

         muesing did nothing.

                 After multiple complaints of harassment to muesing went

         unaddressed, Ms. Muesing had no choice but to give notice of her

         resignation. muesing responded by inviting advanced services

         (including her harassers) to a workplace lunch with her. Rather than

         suffer the indignity of sharing a meal with her harassers, Ms. Hearn quit

         her employment immediately.

                 Ms. Hearn now sues muesing (her employer) and advanced

         services (the employer of her harassers) for creating a racially hostile

         work environment and retaliation in violation of title vii and section

         1981.




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    2.   J U R I S D IC T I O N & V E N U E

              1. This Court has original jurisdiction, under 28 U.S.C. § 1331, of

         Ms. Hearn‘s claims for violations of title vii and section 1981

         because those claims arise under the laws of the United States.

              2. This Court is a proper venue for this lawsuit, under 28 U.S.C. §

         1391(b), because muesing and advanced services reside in the

         Southern District of Indiana.

    3.   PARTIES

         3.1. Plaintiff

              3. Plaintiff Tiffany Hearn resides in Marion County, Indiana.

         3.2. Defendant

              4. Defendant muesing management company, inc. was, at

         all relevant times, a Indiana corporation (Business ID No. 1993110148) with

         its principal place of business in Marion County, Indiana.

              5. Defendant advanced services llc is an Indiana limited

         liability company (Business ID No. 2006100500080) with its principal

         place of business in Marion County, Indiana.




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    4.   STATEMENT OF FACTS

              6. Ms. Hearn was muesing’s Assistant Property Manager from

         February 2018 until she it constructively terminated her employment in

         April 2021.

              7. During that time, Ms. Hearn met all muesing’s legitimate

         performance expectations.

              8. In early March, Marcel Durham, a Black Groundskeeper,

         complained to Valerie Defibaugh (Property Manager) and Ms. Hearn that

         two white men were racially harassing him.

              9. Defibaugh directed Ms. Hearn to go with Durham to investigate.

              10. Durham and Ms. Hearn discovered that the men were

         employees of advanced services, a muesing contractor.

              11. When Ms. Hearn confronted the men (while recording them),

         they called her a nigger.

              12. The white men also said such things as:

         "Fuck you, you racist bitch;”

         “You can record all you want. I work for Paul, and I know the owner,

         Kirby Kinghorn;”

         “We’ll be back, I’ve got something for you boy.”

              13. The white men also attempted to open Ms. Hearn’s car door,

         threatened her, and chased her when she drove away.

              14. Defibaugh called the police, but the men had left by the time the

         police arrived.


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             15. Ms. Hearn provided a statement to the police and was sent

        home.

             16. Several days later, a white resident who reported that these same

        men were making other racist comments around him to Joy Spivey (who

        then contacted Ms. Hearn about the issue).

             17. Ms. Hearn complained to Defibaugh and Kelly Reed

        (Regional Manager) about this ongoing harassment, but nothing was

        done.

             18. Subsequently, Ms. Hearn observed Carl Kelly (EMPLOYER?)

        saying racial slurs such as “wetback” at a neighboring muesing property.

             19. Again, Ms. Hearn reported this misconduct to muesing, but

        nothing was done.

             20. Ms. Hearn lived in a third muesing property where these white

        men were also doing work, so she sent a letter to Karen Tolley

        (Vice President) and muesing’s corporate office complaining about the

        lack of action and her own personal vulnerability.

             21. When, again, nothing was done, Ms. Hearn put in her two

        weeks’ notice of resignation.

             22. The following week, however, muesing invited

        advanced services (including the white men) to the office for lunch

        to celebrate the completion of renovations.

             23. Because Ms. Hearn felt extremely uncomfortable sharing a lunch

        with her harassers, she was forced to immediately resign.

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    5.   STATEMENT OF CLAIMS

         5.1. Racially hostile work environment in violation of
              Title VII (Muesing only).

              24. Ms. Hearn was subjected to harassing conduct, including being

         called a nigger, being yelled at, being threatened, and an attempted

         physical assault.

              25. This conduct was unwelcome.

              26. This conduct occurred because Ms. Hearn is Black.

              27. This conduct was sufficiently severe or pervasive that a

         reasonable person in Ms. Hearn’s position would find her work

         environment to be hostile or abusive.

              28. At the time the conduct occurred, Ms. Hearn believed that the

         conduct made her work environment hostile or abusive.

              29. muesing knew or should have known about the conduct.

              30. Defendant did not take reasonable steps to correct the situation

         or to prevent harassment from recurring.

              31. Ms. Hearn was injured by this hostile work environment.




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        5.2. Racially hostile work environment in violation of
             Section 1981 (all Defendants).

             32. Ms. Hearn was subjected to harassing conduct, including being

        called a nigger, being yelled at, being threatened, and an attempted

        physical assault.

             33. This conduct was unwelcome.

             34. This conduct occurred because Ms. Hearn is Black.

             35. This conduct was sufficiently severe or pervasive that a

        reasonable person in Ms. Hearn’s position would find her work

        environment to be hostile or abusive.

             36. At the time the conduct occurred, Ms. Hearn believed that the

        conduct made her work environment hostile or abusive.

             37. muesing knew or should have known about the conduct.

             38. advanced services knew or should have known about the

        conduct.

             39. Defendants did not take reasonable steps to correct the situation

        or to prevent harassment from recurring.

             40. Ms. Hearn was injured by this hostile work environment.




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         5.3. Retaliation in violation of Title VII (Muesing only).

               41. In March and April 2021, Ms. Hearn complained of a racially

         hostile work environment to muesing.

               42. In April 2021, muesing invited Ms. Hearn’s harassers to a meal

         with her in the workplace, in retaliation for her complaint of racial

         harassment.

               43. Ms. Hearn was injured by this hostile work environment.

    6.   P R A Y E R F O R R E L IE F

               Ms. Hearn respectfully requests that judgment be entered in her

         favor, and against muesing and advanced services on all claims, for

         their violations of title vii of the civil rights act of 1964,

         section 1981 of the civil rights act of 1866. She requests all

         available relief on her claims, including the following:

               a.    Back pay and front pay;

               b.    Compensatory and punitive damages;

               c.    Attorney fees and costs; and

               d.    Prejudgment and postjudgment interest.

    7.   JURY DEMAND

               As required by Fed. R. Civ. P. 38(b), Ms. Hearn respectfully

         requests a trial by jury on all issues so triable.




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